
82 So. 3d 910 (2011)
Phillip BROWN, Appellant,
v.
STATE of Florida, Appellee.
Nos. 4D10-262, 4D10-263, 4D10-264.
District Court of Appeal of Florida, Fourth District.
June 29, 2011.
Carey Haughwout, Public Defender, and Jon M. Conway, Assistant Public Defender, West Palm Beach, and Phillip Brown, Clermont, for appellant.
Pamela Jo Bondi, Attorney General, Tallahassee, and Heidi L. Bettendorf, Assistant Attorney General, West Palm Beach, for appellee.
PER CURIAM.
We affirm, but remand for the trial court to enter a written order of revocation of probation specifying the conditions appellant was found to have violated. See Rey v. State, 904 So. 2d 566 (Fla. 4th DCA 2005).
Affirmed; Remanded with Instructions.
WARNER, POLEN and LEVINE, JJ., concur.
